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     UNITED STATES OF AMERICA
17
                             UNITED STATES DISTRICT COURT
18
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     UNITED STATES OF AMERICA,                No. LACR19-642-VAP
20                                            No. LACR20-155-VAP
                Plaintiff,
21                                            REDACTED DECLARATION OF DANIEL J.
                      v.                      O’BRIEN RE LODGING OF REDACTED
22                                            EXHIBITS (FILED UNDER SEAL IN
     IMAAD SHAH ZUBERI,                       DOCKET #298) PER COURT’S ORDER
23                                            DATED 2/9/17
                Defendant.
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16   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
17
                             UNITED STATES DISTRICT COURT
18
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     UNITED STATES OF AMERICA,                No. LACR19-642-VAP
20                                            No. LACR20-155-VAP
                Plaintiff,
21                                            DECLARATION OF DANIEL J. O’BRIEN
                      v.                      RE LODGING OF REDACTED EXHIBITS
22
     IMAAD SHAH ZUBERI,                       (UNDER SEAL)
23
                Defendant.
24

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 1                          DECLARATION OF DANIEL J. O’BRIEN

 2         I, Daniel J. O’Brien, declare as follows:
 3         1.    I am an Assistant United States Attorney in the United
 4   States Attorney’s Office for the Central District of California.                I
 5   am responsible for the prosecutions of United States v. Imaad Shah
 6   Zuberi, CR 19-642-VAP and CR 20-155-VAP.
 7         2.    I submit this declaration to assist the Court in its
 8   evaluation of redactions to documents currently under seal proposed
 9   by the government in accordance with the Minute Order Re: Sealing of
10   Docket Entries dated January 21, 2021.
11         3.    The Court’s Minute Order directs the parties to “lodge
12   copies of documents the Court intends to unseal with proposed
13   redactions to protect . . . the identity of third parties . . .”                As
14   acknowledged in the Minute Order, the decision to redact third party
15   names requires balancing "the reputational and safety interests of
16   uncharged third parties" versus the “public’s interest in access to
17   records of judicial proceedings.”
18         4.    Attached as Exhibit 1 is a spreadsheet that summarizes
19   factors that either militate in favor of, or against, redacting the
20   identities of third parties.       Exhibit 1 breaks down potential
21   redactions into five tiers with Level 1 being the most necessary to
22   redact and Level 5 indicating no reasonable basis to redact.             Based
23   upon the government’s assessment of the competing factors, the
24   government has redacted names and identifying information for those
25   individuals and entities grouped within levels 1, 2, and 3.
26         5.    “Level 1” consists of individuals who are the subject of
27   ongoing criminal investigations, are specifically alleged to have
28   committed criminal offenses in government filings, have articulated
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 1   specific safety concerns, or whose involvement has not been

 2   referenced in judicial proceedings.

 3         6.

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 7         7.    With respect to safety, the government previously informed

 8   the Court of concerns raised by two individuals,

 9                         After receipt of the Minute Order, I contacted

10   counsel for these two individuals to determine whether such concerns

11   still exist.

12

13         8.

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17   The government worked with counsel for                   to prepare

18   redactions that would address these concerns while providing the

19   public with facts relevant to defendant’s sentencing.

20         9.

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24         10.   “Level 2” includes unwitting participants in Foreign Agent

25   Registration Act (“FARA”) violations who may be nevertheless publicly

26   viewed as having engaged in wrongdoing, victims of frauds perpetrated

27   by defendant, and individuals whose involvement raises multiple

28   privacy concerns, none of which independently rise to “Level 1.”

                                             2
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 1         11.    “Level 2” also includes individuals alleged by the

 2   government to have knowingly participated in Federal Election

 3   Campaign Act (“FECA”) violations (typically through the reimbursement

 4   of campaign contributions) and, in some cases, related false

 5   statements to the Federal Bureau of Investigation.           The need to

 6   redact these names is offset to some extent by the competing

 7   argument, voiced by the government in prior filings, that FECA

 8   requires the public reporting of contributions, thereby, requiring

 9   the public record to be corrected in order to end what is now a

10   continuing offense.      Nevertheless, the government proposes to redact

11   these individual names to avoid highlighting their involvement in

12   uncharged crimes.     The public release of campaign committee names

13   coupled with the dates and amounts of the contributions may be

14   sufficient to ensure that campaigns disgorge illegal contributions

15   and publicly file corrected reports.

16         12.    “Level 3” individuals and entities

17                                      consist of the following individuals,

18   and their respective entities, who were investors in US Cares and

19   alleged by the government to be victims of a fraud perpetrated by the

20   defendant.

21

22   Anwar Bukhamseen                         BHUS
     Arun Rangachari                          Dar World Investments
23

24   Redaction might be appropriate with respect to these individuals and

25   entities to prevent reputational harm and to avoid re-victimizing the

26   victim.     However, Rangachari and Bukhamseen have authored statements

27   stating that they do not believe they were defrauded.           The government

28   has not argued that their statements in support of defendant were

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 1   intentionally false; rather, the government believes they have been,

 2   once again, fooled as to the defendant’s intentions.

 3         13.   “Level 4” primarily consists of two individuals, Mark

 4   Skarulis and Willa Rao.

 5         14.   While the government has referenced Skarulis’ participation

 6   in FARA violations for which he has not been charged, he has pleaded

 7   guilty to tax offenses, has admitted his conduct with respect to FARA

 8   violations involving Sri Lanka, and these relevant facts will be

 9   publicly aired at his sentencing hearing.         Moreover, Skarulis’

10   identity and participation in the Sri Lanka lobbying effort was

11   publicly revealed in FARA registration statements filed by Skarulis

12   in 2015.

13         15.   The government has not alleged in public filings that Willa

14   Rao engaged in any illegal activity.        While the government alleged

15   that she assisted defendant in his general business activities

16   through use of the fictitious Renee Wu identity, there has been no

17   public allegation that she intentionally engaged in unlawful conduct.

18   Moreover, Ms. Rao is already publicly identifiable by virtue of her

19   marriage to defendant and her hundreds of FECA contributions.             In

20   addition, because the name “Rao” (both Ms. Rao and her sister) was

21   used as a conduit for approximately a dozen campaign violations, Ms.

22   Rao’s identity will be repeatedly disclosed in amended FECA filings.

23   //

24   //

25   //

26   //

27   //

28   //

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 1         16.    “Level 5” entities and individuals consist of those

 2   persons and entities for which the government cannot construct

 3   arguments for redaction.      They primarily consist of unwitting

 4   campaign committees and mere conduits who engaged in no wrongdoing.

 5   (Typically, defendant used the names of relatives to make campaign

 6   contributions from his own financial accounts.)          Their identities

 7   must be disclosed in amended FECA filings.

 8         I declare under penalty of perjury under the laws of the United

 9   States of America that the foregoing is true and correct and that

10   this declaration is executed at Los Angeles, California, on February

11   5, 2021.

12
                                              DANIEL J. O’BRIEN
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                                CERTIFICATE OF SERVICE
 1
           I, Sandy Ear, declare:
 2
           That I am a citizen of the United States and a resident of or
 3
     employed in Los Angeles County, California; that my business address
 4
     is the Office of United States Attorney, 312 North Spring Street,
 5
     Los Angeles, California 90012; that I am over the age of 18; and
 6
     that I am not a party to the above-titled action;
 7
           That I am employed by the United States Attorney for the
 8
     Central District of California, who is a member of the Bar of the
 9
     United States District Court for the Central District of California,
10
     at whose direction the service by email described in this
11
     Certificate was made that on February 5, 2021, I was caused to email
12
     the above-titled action, a copy of: Declaration of Daniel J. O’Brien
13
     re lodging of redacted exhibits (Under Seal)
14
       ☐ Placed in a closed envelope          ☐ Placed in a sealed envelope
15       for collection and inter-              for collection and mailing
         office delivery, addressed as          via United States mail,
16       follows:                               addressed as follows:

17     ☐ By hand delivery, addressed          ☐ By facsimile, as follows:
         as follows:
18
       ☒ By Email, as follows:                ☐ By Federal Express, as
19                                              follows:

20     Thomas P. O’Brien, Esq.
       tobrien@bgrfirm.com
21

22     Ivy Wang, Esq.
       iwang@bgrfirm.com
23
       Nate Brown, Esq.
24     nbrown@bgrfirm.com
25     Evan Davis, Esq.
26     davis@taxlitigator.com

27   at their last known email address. This Certificate is executed on
28
     Case 2:19-cr-00642-VAP Document 324 Filed 02/10/21 Page 9 of 9 Page ID #:6595

     February 5, 2021 at Los Angeles, California.          I certify under
 1   penalty of perjury that the foregoing is true and correct.
 2

 3
                                                  /s/ Sandy Ear
 4                                               SANDY EAR
                                                 Legal Assistant
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